Decree was signed and entered on May 25, 1926, and enrolled on June 17, 1926. Petition for rehearing was filed by defendants on November 21, 1927, which after hearing was denied, on condition, however, that plaintiffs pay $200 into court for defendants. Defendants appealed, and later plaintiffs also filed claim of appeal. Circuit Court Rule No. 56, § 1, provides:
"On proper cause shown, a rehearing of an equitable action may be had. No application for such *Page 439 
rehearing shall be heard unless filed within four months from the entry of the final decree."
Defendants were not entitled to rehearing after the lapse of four months from the entry of the final decree.Domboorajian v. Domboorajian, 235 Mich. 668. See, also, UnionTrust Co. v. Detroit Trust Co., 240 Mich. 646; Grimore v.Arenac Circuit Judge, 243 Mich. 151.
The petition for rehearing is denied unconditionally, and the order so modified is affirmed, with costs to plaintiffs.
NORTH, C.J., and FEAD, FELLOWS, WIEST, McDONALD, POTTER, and SHARPE, JJ., concurred.